         Case 8:11-cv-00301-DOC-VBK Document 59 Filed 11/15/11                                  Page 1 of 1 Page ID
                                           #:906
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
Yassir Fazaga, et al.                                                  CASE NUMBER:

                                                                                      8:11-cv-00301-CJC(VBKx)
                                                        PLAINTIFF(S)
                                  v.
Federal Bureau of Investigation, et al.
                                                                         NOTICE TO FILER OF DEFICIENCIES IN
                                                                         ELECTRONICALLY FILED DOCUMENTS
                                                      DEFENDANT(S).

PLEASE TAKE NOTICE:
        Pursuant to General Order 10-07, Local Rule 5-4 and/or the Federal Rules of Civil Procedure, the following
deficiency(ies) has been found with your electronically filed document:

         11/11/2011                            57                        Motion to Dismiss
         Date Filed                            Doc. No.                  Title of Doc.

ERRORS WITH DOCUMENT
    G Document submitted in the wrong case
    G Incorrect document is attached to the docket entry
    G Document linked incorrectly to the wrong document/docket entry
    G Incorrect event selected. Correct event to be used is
    G Case number is incorrect or missing.
    G Hearing information is missing, incorrect, or not timely
    ✔ Local Rule 7.1-1 No Certification of Interested Parties and/or no copies
    G
    G Case is closed
    G Proposed Document was not submitted as separate attachment
    G Title page is missing
    G Local Rule 56-1 Statement of uncontroverted facts and/or proposed judgment lacking
    G Local Rule 56-2 Statement of genuine disputes of material fact lacking
    G Local Rule 7-19.1 Notice to other parties of ex parte application lacking
    G Local Rule 11-6 Memorandum/brief exceeds 25 pages
    G Local Rule 11-8 Memorandum/brief exceeding 10 pages shall contain table of contents
    G A Certificate of Good Standing is not attached to pro hac vice application.
    G Other:



 Note:     In response to this notice the court may order 1) an amended or correct document to be filed 2) the document stricken
           or 3) take other action as the court deems appropriate.
           You need not take any action in response to this notice unless and until the court directs you to do so.

                                                                         Clerk, U.S. District Court

Dated: 11/15/2011                                                             By: D. Beard
                                                                                       Deputy Clerk
cc: Assigned District Judge and/or Magistrate Judge



G-112A (05/11)                NOTICE TO FILER OF DEFICIENCIES IN ELECTRONICALLY FILED DOCUMENTS
